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 A0245D      (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet 1

                                                                                                                   EASTERN DISTRICT ARKANSAS

                                      UNITED STATES DISTRICT COURT
                                                   EASTERN DISTRICT OF ARKANSA                               JAMESW.
          UNITED STATES OF AMERICA                                       Judgment in a Criminal Ca~l---tf-M....tL-+f-)4::::-,.,...,~
                             v.                                          (For Revocation of Probation or Supervised Release)
                     DARYL HILL

                                                                         Case No. 4:07cr00317-06 JMM
                                                                         USM No. 24999-009
                                                                          Nicole Lybrand
                                                                                                 Defendant's Attorney
THE DEFENDANT:
~admitted guilt to violation of condition(s)           _G_e_n_e_ra....;l,_ _ _ _ _ _ _ _ ofthe term of supervision.
0   was found in violation of condition(s)                                          after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                                           Nature of Violation                                    Violation Ended
General                           Failure to refrain from committing another crime                              03/15/2012

Standard 3                        Failure to sumbit a truthful/complete report                                  05/05/2012

Standard 6                        Failure to to notify officer of change in residence                           02/29/2012

Special                           Failure to attend outpatient counseling                                     03/14/2012

       The defendant is sentenced as provided in pages 2 through _ __;..4__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0   The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and Unifed States attorney of material changes m
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 3423                      09/27/2013
                                                                                            Date of Imposition of Judgment
Defendant's YearofBirth:            1954
                                                                          ~ \IV\ \fV, 0 £?~
City and State of Defendant's Residence:
unknown
                                                                         JAMES M. MOODY                               U.S. District Judge
                                                                                               Name and Title of Judge

                                                                         09/30/2013
                                                                                                         Date
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 AO 245D    (Rev. 09/11) Judgment in a Criminal Case for Revocations
            Sheet 2- Imprisonment                      ''

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 DEFENDANT: DARYL HILL
 CASE NUMBER: 4:07cr00317-06 JMM


                                                               IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
 total term of :
TIME SERVED




    D The court makes the following recommendations to the Bureau of Prisons:




    D   The defendant is remanded to the custody of the United States Marshal.

    D The defendant shall surrender to the United States Marshal for this district:
        D    at   --------- D                          a.m.      D     p.m.    on
        D    as notified by the United States Marshal.

    D   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        D    before 2 p.m. on
        D    as notified by the United States Marshal.
        D    as notified by the Probation or Pretrial Services Office.

                                                                       RETURN

 I have executed this judgment as follows:




        Defendant delivered on                                                      to

 at - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                            UNITED STATES MARSHAL


                                                                              By
                                                                                         DEPUTY UNITED STATES MARSHAL
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  AO 245D     (Rev. 09/11) Judgment in a Criminal case for Revocations
              Sheet 3- Supervised Release
                                                                                                     Judgment-Page   _ L of              4
  DEFENDANT: DARYL HILL
  CASE NUMBER: 4:07cr00317-06 JMM
                                                             SUPERVISED RELEASE

  Upon release from imprisonment, the defendant shall be on supervised release for a term of :
SIX (6) MONTHS



          The defendant must re~rt to the probation office in the district to which the defendant is released within 72 hours of release
 from the custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug
 tests thereafter as determined by the court.
 D     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
 fl/ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
 D     The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
 D     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
       or is a student, as directed by the probation officer. (Check, if applicable.)
 D     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judg!J!ent imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
 with the Schedule of Payments sheet of this judgment.
     . . The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
 condttlons on the attached page.

                                            STANDARD CONDffiONS OF SUPERVISION
 1)         the defendant shall not leave the judicial district without the permission of the court or probation officer;
 2)         the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
 3)         the. defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
            offtcer;
 4)         the defendant shall support his or her dependents and meet other family responsibilities;
 5)         the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
            or other acceptable reasons;
 6)         the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
 7)         the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
 8)         the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
 9)         the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
            convicted of a felony, unless granted perm1ssion to do so by the probation officer;
 10)        the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
            confiscation of any contraband observed in plain view of the probation officer;
 11)        the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
            enforcement officer;
 12)        th!! defendant sh~ll ~ot enter into any agreement to act as an informer or a special agent of a law enforcement agency
            wtthout the permtsston of the court; and
 13)        as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
            defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
            notifications and to confirm the defendant's compliance with such notificatiOn requirement.
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           Sheet 3C - Supervised Release                   ·
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                                            SPECIAL CONDmONS OF SUPERVISION

1) The defendant shall be confined in a halfway house during the term of supervsion.

The Court recommends Wings of Freedom.
